                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF TENNESSEE
                             CHATTANOOGA

THOMAS WILLIAM MORGAN,                 §
                                       §
                  Plaintiff,           §
                                       §      No_______________
~v~                                    §
                                       §
MARION COUNTY GOVERNMENT,              §      JURY DEMAND
                                       §
LINDA MASON,                           §
                                       §
RONNIE “BO” BURNETTE, and              §
                                       §
DALE WINTERS,                          §
                                       §
                  Defendants.          §

                     “I never follow the rules. I am opiniated.”

              Comment by Marion County Commission Chairperson
                                  Linda Mason
             Video Posted on The River 104.0 Facebook Page (1:37:27)

                                   COMPLAINT

      PLAINTIFF, THOMAS WILLIAM MORGAN, by and through his attorney,

Robin Ruben Flores, and complaining of Defendants, MARION COUNTY

GOVERNMENT; LINDA MASON; RONNIE “BO” BURNETTE, and DALE

WINTERS, states as follows:

                                INTRODUCTION

      1.    This is a civil rights action for violations of the First, Fourth, and

Fourteenth Amendments to the United States Constitution arising from the forced

removal and unreasonable seizure of the Plaintiff by Defendants Burnette and



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Winters at the direction of Defendant Mason as the Plaintiff attempted to address

the Marion County Commission (“Commission”).

       2.     This civil rights action is brought under 42 U.S.C. §1983 against Linda

Mason (“Mason”); Ronnie “Bo” Burnette (“Burnette”) and Dale Winters (“Winters”)

in their individual capacities and against Defendant Marion County Government

(“County”).

       3.     This action seeks damages against all four Defendants caused by the

violation of Plaintiff’s constitutional rights as set forth more fully infra.

       4.     This action also raises state law claims against Mason, Burnette and

Winters in their individual capacities. Additionally, Plaintiff brings these claims

against the County pursuant to TENN. CODE ANN. § 8-8-302 as to Burnette and

Winters as noted in ¶ 5, infra.

       5.     Plaintiff seeks compensatory and punitive damages against Mason,

Burnette and Winters in their individual capacities, and Plaintiff seeks for the

County to indemnify Burnette and Winters under TENN. CODE ANN. § 8-8-302 and to

pay compensatory claims under 42 U.S.C. §1983.

                           JURISDICTION AND VENUE

       6.     Plaintiff’s claims for relief are predicated upon 42 U.S.C. §1983, which

authorizes actions to redress the deprivation, under color of state law, of rights,

privileges, and immunities secured to the Plaintiff by the United States

Constitution. This action arises under the First, Fourth, and Fourteenth

Amendments to the United States Constitution. Thus, as to the § 1983 claims, this

Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

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       7.     This Court is vested with supplemental jurisdiction over Plaintiff’s

state claims pursuant to 28 U.S.C. § 1367 in that all claims set forth herein arise

from the same case and controversies.

       8.     Venue is proper in this Court, Chattanooga Division, pursuant to 28

U.S.C. §1391(B). All acts complained of occurred within Marion County, a political

sub-division of the State of Tennessee physically located within the fourteen-county

district of this Court.

                                   THE PARTIES

       9.     Plaintiff is a United States citizen and a resident of Tennessee.

       10.    The County is a municipality formed under the laws of the State of

Tennessee.

       11.    Marion County Government (“County”) is comprised of a county mayor

and commissioners who serve commission districts within the county boundaries.

The commissioners and the mayor are elected government officials.

       12.    The final policy maker for the County is the County legislative body,

also known as the County Commission (“Commission”).

       13.    At the time of the events averred herein, Mason was the Chairperson

of the Commission; Burnette was the Sheriff of Marion County, and Winters was a

deputy sheriff of Marion County.

       14.    At all relevant times, the County held regular public meetings of the

Commission to address the business of the County and its citizens.




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      15.    These regular meetings are open to the public, and the meetings are

recorded by members of the media for later publication to the public.

      16.    At all relevant times, the County had a duty to allow members of the

public to address the Commission without coercive, demeaning, insulting,

threatening, and unlawful physical behavior when the Commission or a

Commissioner did not like what a citizen said.

      17.    The Commission had an absolute duty to refrain from silencing a

member of the public by use of police force and coercion when the speech of the

member displeased any member of the Commission.

      19.    At all relevant times, the County is responsible for the creation and

maintenance of the Marion County Sheriff’s Office (“MCSO”), which is a law

enforcement agency created under Tennessee state law and regulated by the laws of

the State of Tennessee as to the training and certification of its law enforcement

employees.

      20.    The County is liable for the acts of Burnette and Winters while they

acted within the scope of their employment pursuant to the County’s statutory

obligation to indemnify these two individual defendants.

      21.    At all relevant times, Mason, Burnette and Winters were responsible

for the safety and welfare of the Plaintiff; were under a lawful obligation to refrain

from the use of police force and police coercion to silence the Plaintiff; were under a

lawful obligation to refrain from violating the Plaintiff’s constitutional rights; were

under a lawful obligation to not conspire to violate Plaintiff’s rights; were a lawful



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obligation to refrain from the infliction of emotional distress upon the Plaintiff; and

Winters and Burnette were under a lawful obligation not to assault and batter the

Plaintiff.

       22.   At all relevant times, Mason, Burnette and Winters acted under color

of state law and in the course and scope of their employment with the County.

       23.   The County is directly liable for the unlawful actions averred herein

since its highest-level Commission member (Mason) and its chief law enforcement

officer (Burnette) orchestrated, condoned, ratified and personally participated in the

constitutional violations claimed in this Complaint. At no time did any member of

the Commission intervene in Mason, Burnette and Winters’ actions in both

incidents described further herein.

       24.   Plaintiff sues Mason, Burnette and Winters in their individual

capacities and sues the County.

                                  FACTUAL BASIS

                 January 22, 2024 Meeting of the Commission

       25.   On January 22, 2024, the Commission held its regular monthly

meeting to address the business of the County and the business of the citizens of

Marion County. (“January meeting”). Defendants Burnette and Winters were

present during this meeting. Mason presided over the meeting.

       26.   During the January meeting Commissioner Ruric Brandt (“Brandt”)

raised questions as to meetings of commissioners held in private and when such

private meetings can be held.



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      27.    Brandt then asked about whether Mason should relinquish her

chairperson position to the vice-chair when she participates in any debate, and

Mason flippantly stated: “I never follow the rules. I am opiniated.”

      28.    Plaintiff attended the January meeting.

      29.    Mason opened the floor to the attendees for public comment but noted

that the comments must address matters that were on the agenda.

      30.    Plaintiff took the podium to address the Commission during the public

comment portion of the meeting about a matter on the agenda. Specifically, Plaintiff

addressed the Commission about the allocation of public funds for infrastructure

projects, such as roadways, and railroad crossings.

      31.    Plaintiff began his comments by reviewing his past address to the

Commission in November 2023 and then moved to his observations of what he

heard the Commission discuss in the January meeting regarding allocation of two

million dollars to build a road that has “has no homes on it….”

      32.    But before Plaintiff could finish his sentence Mason interrupted by

saying:

      “Ok buddy, look, (and while pointing her finger at Plaintiff) we’re not
      going there.” Mason then told the Plaintiff to “go to the mike or you
      don’t speak.”

      33.    Plaintiff then went to the “mike,” but as Plaintiff began to speak,

Mason continued to interrupt Plaintiff. Plaintiff then voiced his objection to Mason’s

conduct, and Mason replied, “I can have you removed if you like.”




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      32.    Mason directed Burnett to remove the Plaintiff. Plaintiff then told

Mason that he was addressing the Commission at a public forum and that she was

suppressing his rights to which Mason replied, “I am not going to listen to it.”

      33.    Rather than decline Mason’s request, Burnett and Winters approached

Plaintiff. Burnette and Winters placed their hands on the Plaintiff. Plaintiff asked if

Burnette and Winters were threatening Plaintiff with arrest. Still, Winters and

Burnette used physical force and police coercion to remove Plaintiff from the

meeting room without any lawful justification to use such force and coercion and

without any lawful justification to silence the Plaintiff and remove him from the

public meeting.

      34.    The whole exchange involving Plaintiff as described lasted about 1

minute and 53 seconds.

      35.    Immediately after Winters and Burnette removed Plaintiff from the

meeting room, Mason threatened Donald Leonard (“Leonard”) with removal as well

when Leonard stated that “there are a lot of problems on Pulltight Road.”

      36.    Mason then said to Leonard, “And you can be next” and she then asked

Burnett “can you remove this man please?”

      37.    Rather than be removed, Leonard stated, “I’ll walk out,” and Leonard

left the meeting room too. Plaintiff who was standing at the entranceway to the

meeting room, commented that Mason trampling on “everyone’s rights” whereupon

Mason pointed at the Plaintiff and said “this man, right here, needs to leave this

building right now.”



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      38.    At no time was there any lawful reason to silence the Plaintiff or use

police coercion and police force to silence and remove the Plaintiff from the meeting

and the building.

                                  FACTUAL BASIS

                    June 24, 2024 Meeting of the Commission

      39.    On June 24, 2024, (“June meeting”) Plaintiff was on the agenda, and

he addressed the Commission about the Commission’s treatment of citizens who

addressed the Commission. Mason presided over the meeting.

      40.    Plaintiff also addressed the use of public funds and the integrity of the

Commission’s decisions.

      41.    Rather than allow Plaintiff to make a public comment, Mason

interrupted Plaintiff and initiated a tense dialogue with Plaintiff, including asking

Plaintiff “Are you making a point?” and as the dialogue continued, told Plaintiff that

“I’m talking sir, I’m talking.”

      42.    Mason then told Plaintiff that he had to make a point or “otherwise,

you need to sit down.” Plaintiff expressed his views of how Mason abuses her power,

at which time Mason told Plaintiff that she was calling the police.

      43.    Plaintiff then asked Mason “what crime am I committing” to which

Mason replied that Plaintiff needed to make a point without elaborating as to what

she meant was a “point.”

      44.    The unlawful acts and omissions of Mason, Burnette and Winters were

the direct and proximate cause of the deprivation of the Plaintiff’s rights



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guaranteed under the United States Constitution; Plaintiff’s humiliation and

mental anguish; and Plaintiff’s damages.

      45.    No reasonable County official would have acted in the manner as

Mason, Burnette and Winters acted. No reasonable member of the Commission

would have simply remained silent while Mason, Burnette, and Winters violated

Plaintiff’s rights. To be sure, the Commission meeting had the benefit of its county

attorney, Billy Gouger, present to advise the individual defendants and the

Commission as to the actions unfolding before them. However, no one on the

Commission utilized Mr. Gouger’s services.

                                   COUNT ONE:

                  DEPRIVATION OF FREEDOM OF SPEECH
                         (FIRST AMENDMENT)

                 January 22, 2024 Meeting of the Commission

                    VIOLATION OF CIVIL RIGHTS UNDER
                       COLOR OF LAW 42 U.S.C. §1983

      46.    Each paragraph of this Complaint is incorporated as if fully set forth

herein.

      47.    The First Amendment to the U.S. Constitution protects freedom of

speech, particularly from government interference.

      48.    In the fact pattern averred herein, Mason, while acting as the chair of

the Commission, a government entity, ordered the removal of Plaintiff during a

public comments portion of a commission meeting because Mason did not like what

Plaintiff was saying.



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       49.    Mason unlawfully wielded her power and the police power of the

 County to silence Plaintiff.

       50.    Burnette and Winters acted in concert with Mason and used their

 police power to remove the Plaintiff from the meeting against his will.

       51.    Plaintiff sues all Defendants under Count One. Mason, Burnette and

 Winters acted under color of law and their acts deprived the Plaintiff of the right

 secured to him under the First Amendment to Freedom of Speech. The County

 directly participated in this violation, condoned and ratified the actions by the

 direct participation of Mason and Burnette, and by the silence of the other members

 of the Commission.

                                     COUNT TWO:

                    DEPRIVATION OF RIGHT TO ASSEMBLE
                           (FIRST AMENDMENT)

                   January 22, 2024 Meeting of the Commission

                      VIOLATION OF CIVIL RIGHTS UNDER
                         COLOR OF LAW 42 U.S.C. §1983

       52.    Each paragraph of this Complaint is incorporated as if fully set forth

 herein.

       53.    The First Amendment protects the right of the people to peaceably

 assemble and express their views.

       54.    Plaintiff was addressing the county commission during a public

 comments portion of a commission meeting, which is a form of peaceful assembly

 and expression.



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       55.     Mason, the chair of the commission, a government official, ordered

 Plaintiff to stop talking and had him removed by Burnette and Winters because

 Mason did not like what Plaintiff was saying.

       56.     Mason unlawfully wielded her power and the police power of the

 County to silence and remove the Plaintiff from the meeting.

       57.     Burnette and Winters acted in concert with Mason and used their

 police power to remove the Plaintiff from the meeting against his will.

       58.     Plaintiff sues all Defendants under Count Two. Mason, Burnette and

 Winters acted under color of law and their acts deprived the Plaintiff of the right

 secured to him under the First Amendment to Assemble. The County directly

 participated in this violation, condoned and ratified the actions by the direct

 participation of Mason and Burnette, and by the silence of the other members of the

 Commission.

                                   COUNT THREE:

                   DEPRIVATION OF RIGHT TO PETITION
                GOVERNMENT FOR REDRESS OF GRIEVANCES
                          (FIRST AMENDMENT)

                   January 22, 2024 Meeting of the Commission

                      VIOLATION OF CIVIL RIGHTS UNDER
                         COLOR OF LAW 42 U.S.C. §1983

       59.     Each paragraph of this Complaint is incorporated as if fully set forth

 herein.

       60.     The First Amendment to the U.S. Constitution protects the right to

 petition the government for redress of grievances. This means that there must be

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 ways available for members of the public to have their issues heard by a

 representative or agency of the government.

       61.     Plaintiff was addressing the county commission about his issues

 involving the County’s actions during a public comments portion of a commission

 meeting, which is a recognized way of petitioning the government.

       62.     Mason, the chair of the commission, a government official, ordered

 Plaintiff to stop talking and had him removed by Burnette and Winters because

 Mason did not like what Plaintiff was saying.

       63.     Mason unlawfully wielded her power and the police power of the

 County to silence and remove the Plaintiff from the meeting.

       64.     Burnette and Winters acted in concert with Mason and used their

 police power to remove the Plaintiff from the meeting against his will.

       65.     Plaintiff sues all Defendants under Count Three. Mason, Burnette and

 Winters acted under color of law and their acts deprived the Plaintiff of the right

 secured to him under the First Amendment to Assemble. The County directly

 participated in this violation, condoned and ratified the actions by the direct

 participation of Mason and Burnette, and by the silence of the other members of the

 Commission.

                                    COUNT FOUR:

                        DEPRIVATION OF DUE PROCESS
                         (FOURTEENTH AMENDMENT)

                   January 22, 2024 Meeting of the Commission

   VIOLATION OF CIVIL RIGHTS UNDER COLOR OF LAW 42 U.S.C. §1983

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       66.    Each paragraph of this Complaint is incorporated as if fully set forth

 herein.

       67.    The Fourteenth Amendment’s Due Process Clause protects individuals

 from being deprived of life, liberty, or property without Due Process of Law.

       68.    In this case, Plaintiff’s liberty to express his views during a public

 comments portion of a commission meeting was infringed upon by Mason, the chair

 of the Commission, and a government employee.

       69.    Mason’s action of ordering Burnette and Winters to remove Plaintiff

 when he questioned Mason’s demand to stop talking constituted a deprivation of

 Plaintiff’s liberty without Due Process of Law.

       70.    Plaintiff sues all Defendants under Count Four. Mason, Burnette and

 Winters acted under color of law and their acts deprived the Plaintiff of the right

 secured to him under the Fourteenth Amendment to not be deprived of his liberty

 without the Due Process of Law. The County directly participated in this violation,

 condoned and ratified the actions by the direct participation of Mason and Burnette,

 and by the silence of the other members of the Commission.

                                    COUNT FIVE:

                            UNREASONABLE SEIZURE
                             (FOURTH AMENDMENT)

                  January 22, 2024 Meeting of the Commission

                     VIOLATION OF CIVIL RIGHTS UNDER
                        COLOR OF LAW 42 U.S.C. §1983




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       71.    Each paragraph of this Complaint is incorporated as if fully set forth

 herein.

       72.    The Fourth Amendment protects individuals from seizure of their

 persons by government action without probable cause.

       73.    Mason directed Burnette and Winters to seize Plaintiff’s person

 without probable cause of any crime. Rather, Mason, the chair of the Commission

 and a governmental employee, was annoyed with Plaintiff and welded her power to

 have Plaintiff seized without probable cause by police.

       74.    Plaintiff sues all Defendants under Count Five. Mason, Burnette and

 Winters acted under color of law and their acts deprived the Plaintiff of the right

 secured to him under the Fourth Amendment to be free from unreasonable seizures

 without probable cause. The County directly participated in this violation, condoned

 and ratified the actions by the direct participation of Mason and Burnette, and by

 the silence of the other members of the Commission.

                                      COUNT SIX:

                   CONSPIRACY TO VIOLATE CIVIL RIGHTS

                   January 22, 2024 Meeting of the Commission

                     VIOLATION OF CIVIL RIGHTS UNDER
                        COLOR OF LAW 42 U.S.C. §1983

       75.    Each paragraph of this Complaint is incorporated as if fully set forth

 herein.

       76.    The joint efforts of Mason, Burnette, Winters, and the County

 constituted a conspiracy to silence the Plaintiff.

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       77.     Plaintiff sues all Defendants under Count Six. Mason, Burnette and

 Winters acted under color of law and their acts constituted a conspiracy to deprive

 the Plaintiff of the rights secured to him under the First, Fourth, and Fourteenth

 Amendments as averred herein. The County directly participated in this violation,

 condoned and ratified the actions by the direct participation of Mason and Burnette,

 and by the silence of the other members of the Commission.

                            COUNTS SEVEN and EIGHT

                             ASSAULT AND BATTERY

                   January 22, 2024 Meeting of the Commission

                            TENNESSEE COMMON LAW

       78.     Each paragraph of this Complaint is incorporated as if fully set forth

 herein.

       79.     Burnette and Winters had no lawful purpose to physically touch the

 Plaintiff in their removal of the Plaintiff from the meeting.

       80.     Plaintiff sues Burnette and Winters under Counts Seven and Eight.

                                    COUNT NINE

             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                   January 22, 2024 Meeting of the Commission

                            TENNESSEE COMMON LAW

       81.     Each paragraph of this Complaint is incorporated as if fully set forth

 herein.




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        82.    Mason, Burnette and Winters had no lawful purpose to remove the

 Plaintiff from the meeting as averred herein. The unlawful actions of these three

 defendants subjected Plaintiff to humiliation before numerous fellow citizens, which

 was broadcasted on the internet.

        83.    Plaintiff sues Mason, Burnette and Winters under Count Nine.

                                     COUNT TEN:

                    DEPRIVATION OF FREEDOM OF SPEECH
              (FIRST AMENDMENT -FREEDOM OF SPEECH CLAUSE)

                     June 24, 2024 Meeting of the Commission

                      VIOLATION OF CIVIL RIGHTS UNDER
                         COLOR OF LAW 42 U.S.C. §1983

        84.    Each paragraph of this Complaint is incorporated as if fully set forth

 herein.

        85.    The First Amendment to the U.S. Constitution protects freedom of

 speech, particularly from government interference.

        86.    In the fact pattern averred herein, Mason, while acting as the chair of

 the Commission, a government entity, continually interrupted Plaintiff as he

 attempted to address the Commission. Mason did not like what Plaintiff was saying

 and ordered the Plaintiff to sit down and that she was calling the police.

        87.    Plaintiff was on the agenda for the June Meeting; however, Mason

 unlawfully wielded her power and the police power of the County to silence

 Plaintiff.




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       88.     Plaintiff sues Mason and the County under Count Ten. Mason, acted

 under color of law and her acts deprived the Plaintiff of the right secured to him

 under the First Amendment to Freedom of Speech. The County directly participated

 in this violation, condoned and ratified the actions by the direct participation of

 Mason and by the silence of the other members of the Commission.

                                   COUNT ELEVEN

             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                    June 24, 2024 Meeting of the Commission

                            TENNESSEE COMMON LAW

       89.     Each paragraph of this Complaint is incorporated as if fully set forth

 herein.

       90.     Mason had no lawful purpose to silence or to attempt to silence the

 Plaintiff with threats of police arrest as the Plaintiff addressed the Commission.

 Given the actions of Mason during the January Commission Meeting, Plaintiff had

 every reason to fear Mason’s threats. Mason’s conduct subjected Plaintiff to

 humiliation before numerous fellow citizens, which was broadcasted on the internet.

       91.     Plaintiff sues Mason under Count Eleven.

                                  COUNT TWELVE

                            TENN. CODE ANN. § 8-8-302

                         TENNESSEE STATE LAW CLAIM

       92.     Each paragraph of this Complaint is incorporated as if fully set forth

 herein.



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       93.    While committing the acts alleged in the preceding paragraphs,

 Burnette and Winters were employees and agents of the County, acting at all

 relevant times within the scope of their employment.

       94.    While committing the acts alleged in the preceding paragraphs,

 Burnette and Winters’ behavior was calculated to facilitate and/or promote the

 business for which the County employed the individual defendants.

       95.    The County is liable as principal for all torts committed by its agents,

 including the torts described herein.

       96.    Tennessee law provides that the County is directed to pay any tort

 judgment for compensatory damages for which its employees are liable within the

 scope of their employment activities.

       97.    Plaintiff sues the County in this Count.

                                RELIEF REQUESTED

       WHEREFORE, the Plaintiff requests relief as follows:

       1)     An award of nominal, compensatory, and presumed damages for each

 violation of Plaintiff’s constitutional rights and for violations of state law in the

 amount of ONE HUNDRED THOUSAND DOLLARS;

       2)     An award of punitive damages against the individual defendants in the

 amount of TWO HUNDRED THOUSAND DOLLARS;

       3)     Awarding Plaintiff his attorney and expert witness fees and all other

 costs of litigation pursuant to 42 U.S.C. §1988, and under other applicable law;

       4)     Pre-judgment and post judgment interest;


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        5)       The right to conform the pleadings to the proof and evidence presented

 at trial; and

        6)       Such other relief as the Court deems just and equitable.

                                     JURY DEMAND

        Plaintiff hereby demands a trial by jury pursuant to Fed. R. CIV. P., Rule

 38(b) on all issues so triable.

                              Respectfully submitted,

                              By: /s/ Robin Ruben Flores
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